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IN THE UNITED STATES DISTRICT COURT ~ a
FOR THE DISTRICT OF NEW MEXICO

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CARL WILSON, an individual, and .
AUDREE WILSON, an individual,

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Plaintiffs,
V. No. CIV 94-892 JC/LFG

HARPERCOLLINS PUBLISHERS INC.,
a Delaware Corporation,

Defendant.
REPLY TO PLAINTIFFS’ RESPONSE BRIEF IN OPPOSITION

TO DEFENDANT HARPERCOLLINS’ MOTION TO EXCLUDE EXPERT
TESTIMONY OF MARILYN LASHNER OR FOR A DAUBERT HEARING

In their effort to rescue Dr. Lashner’s testimony from exclusion in the face of virtually
unanimous precedent holding that her opinions and methodology are unreliable, confusing,
and invasive of roles of the court and jury, plaintiffs fail to demonstrate that her expertise has
application to the subjects on which she purports to testify and offer no evidence that the

method deployed in content analysis meets the criteria set forth in Daubert for the admission

of expert testimony. Daubert v. Merrell Dow Pharmaceuticals, Inc., 113 S. Ct. 2786 (1993).

This Court should follow the Tenth Circuit’s decision in Tilton v. Capital Cities/ABC, Inc., 95

F.3d 33 (10th Cir. 1996), and exclude her testimony.
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I. The Tenth Circuit Affirmance Of Tilton Reguires Exclusion Of Lashner’s Opinion.

Plaintiffs admit that no written opinion by any court has approved Lashner’s testimony
in a libel context.'! To the contrary, in several cases the courts unanimously rejected her

expertise as "pseudo-scientific", unnecessary, confusing, or prejudicial. Tilton v. Capital

Cities/ABC, Inc., 938 F. Supp. 751 (N.D. Okla. 1995), aff'd, 95 F.3d 32 (10th Cir. 1996),

and World Boxing Council v. Cosell, 715 F. Supp. 1259 (S.D.N.Y. 1989); Brueggemeyer v.

American Broadcasting Cos., 684 F. Supp. 452 (N.D. Tex. 1988); Winship v. McCurtain

County News, Inc., 21 Media L. Rep. (BNA) 2206 Okla. Ct. App. 1993) (unpublished). In a

heroic effort to distinguish World Boxing, Plaintiffs argue that there Lashner had employed a
statistically-based method, "in contrast to the straightforward documentary analysis utilized
here," (Resp. at 1), and that makes all the difference.

It is an odd defense, indeed, to argue that by abandoning statistical validation, a
conclusion somehow becomes more scientifically reliable. To the contrary, the Supreme
Court in Daubert refers specifically to error rates as a pivotal criterion for ascertaining the

reliability of a scientific methodology. 113 S. Ct. at 2797. Plaintiffs appear to argue that by

1 The only written opinion offered by plaintiffs as support for the notion that content
analysis has been accepted is Weller v. American Broadcasting Cos., 283 Cal. Rptr. 644 (Ct.
App. 1991). While Weller, a decision by a California Court of Appeal, has no precedential
value in the Tenth Circuit, especially in light of Tilton, the court there did not purport to
speak to the "content analysis" offered by Lashner but rather a linguistic analysis, the
parameters of which are undefined in the opinion. In light of the plethora of published cases
specifically rejecting Lashner’s testimony, the plaintiffs can take cold comfort in locating a
single case from a lower appellate court in California suggesting that a linguistic analysis by
someone other than Lashner passes the straight-face test.

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abandoning a fundamental criterion for validating a questioned methodology, the methodology
becomes more reliable!

Moreover, the World Boxing court’s rejection of Lashner’s expertise was not based on
her deployment of statistical techniques to validate her conclusion but rather on its
comprehensively pseudo-scientific nature, its confusing terminology, and its injection of a
bizarre nomenclature into area peculiarly within the ken of any jury, i.e., the common
understanding of the words communicated by Cosell’s book. 715 F. Supp. at 1264. If the
World Boxing court found the use of "’codes’" and "’labels’" and "specialized terminology"
confusing and unnecessary to the undertaking, id., certainly the court here should find that

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Lashner’s references to "intra-coder reliability coefficient," “ratio of coding agreements,”
(Lashner Coding Manual at 16), and "linguistic construction,” (id. at 12), an unacceptable and
confusing diversion from a simple question: What would an average reader understand the
book to say?

Finally, despite the fact that in Tilton, Lashner used, and the court rejected, the very
same methodology offered here,” plaintiffs attempt to blink away a direct Tenth Circuit
precedent by the ipse dixit that it "does not reflect a proper application of Rule 702.” (Resp.

at 18). Yet far from merely affirming the judgment of the district court without comment, the

Tenth Circuit "adopt[ed] the analysis of the district court" regarding the testimony of the

2 Lashner’s explanation that after her rejection in World Boxing, she changed her
methodology by dispensing with statistical validation and thus is using a different
methodology does not apply to Tilton. There, she used the same methodology employed in
this case and made the same argument offered here, i.e., that her approach had changed.

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expert linguist (Lashner) and in an unusual step, ordered that the district court opinion
requiring exclusion "be published." 95 F.3d at 33. The district court in Tilton ruled that
Lashner’s proposed testimony "would not assist the jury," that the jury was "clearly capable of
determining what the average viewer... understood as expressed and implied" by the broadcast
in question, and that her testimony "would be confusing to the jury, would be a waste of time
and would be unfairly prejudic[ial]" to defendants. Certainly, the Tenth Circuit had a
precedential purpose in mind in affirming and then ordering publication of a district court
opinion excluding Lashner’s testimony as unhelpful, confusing and prejudicial.

IL. Plaintiffs Have Failed To Make Any Showing That The Methodology Of Content

Analysis Is Capable Of Determining Whether Landy Participated In The Writing Of
The Book Or Whether HarperCollins Knew of His Alleged Participation.

Lashner’s testimony on Landy’s alleged participation in the writing of the book
consists of two opinions. First, she attributes authorship of portions of the book to Landy.

Second, she opines that HarperCollins had to have known of this participation.’ Lashner

3 Despite plaintiffs’ caveat that the court should not make “too much” of Lashner’s
conclusion that HarperCollins allowed Landy’s voice to dominate the book, Lashner
eliminates any doubt that her proposed opinion is that Landy was an author and that
HarperCollins knew it. (M. Lashner, Analysis of the Portrayals of Audree Wilson and Carl
Wilson in “Wouldn’t It Be Nice” (hereinafter, Lashner Report), Conclusion 3 ("It is also my
conclusion that HarperCollins permitted its book to give voice to psychologist Eugene Landy,
albeit through what was identified as Brian Wilson’s testimony. ..."), Conclusion 4 ("It is also
my conclusion that HarperCollins’ permitted its book to serve as a platform for Dr. Landy.
...") (emphasis added), Conclusion 7 ("[A]ssociate writer Todd Gold was in essence
acknowledging Dr. Landy as a major contributor to the book, second only to Brian Wilson."),
Conclusion 8 ("[I]t follows that the major contribution of Dr. Landy to the writing of the
book (as acknowledged by associate writer Todd Gold) necessarily directed the tenor of the
story. ...") Also, in describing her purposes in undertaking the analysis Lashner states, “to
describe ... the extent to which HarperCollins permitted their publication, ostensibly an
(continued...)

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lacks the expertise to testify on either of these subjects, and an application of Daubert
principles to her methodology should result in the exclusion of her opinions.

Lashner’s "expertise" clearly does not extend to divining the authorship of writings.
Neither her original and supplemental affidavits, her report, nor the affidavits filed in support
of plaintiffs’ response to this motion represent that content analysis is capable of identifying
the authorship of literary works.* Moreover, her account of the academic history of content
analysis does not include authorship as an opinion which her expertise is qualified to render.
(See Ex. A to Lashner Decl., Ex. 3 to Pls.’ Resp. Br. (“Response”).)

Plaintiffs’ own confusion over the role content analysis played in Lashner’s opinion
concerning Landy’s authorship is demonstrated by their assertion that Lashner "employs
content analysis" to show "that the Book gives voice to the viewpoint of Eugene Landy and
serves as a platform for Landy." (Resp. at 5.) In her report, however, Lashner specifically
disclaims that she used content analysis in reaching her conclusion:

The third purpose of the research: to identify and describe the extent to
which HarperCollins permitted their publication to give voice to Dr. Eugene
Landy---was addressed not by the scientific content analysis described above,

but rather by an informal review of other passages selected by this researcher to

3(...continued)
autobiography by Brian Wilson, to give voice to Dr. Eugene Landy, inasmuch as Dr. Landy
was an outside party not identified as an author." (Emphasis added.) (Lashner Report at 2.)

4 Even the affidavit of John Kittross does not purport to invest content analysis with the
inherently parapsychological power of discerning the identity of an author from the analysis
of a text. Kittross claims only (without citing to supporting empirical data) that once the
authors are known, the discipline can, "in many instances," divine their "intents." (Kittross
Decl., Ex. 1 to Resp., §3.) The alleged "expertise" does not include identification of crypto
authors.
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represent statements of and concerning Dr. Landy in the following areas. ...”
Lashner Report at 12. (emphasis added)

If Lashner’s opinions are so confusing that plaintiffs’ counsel themselves do not understand
their scope and application, a jury can hardly be expected to do so. Plaintiffs further fail to
make any showing that this “informal review” qualifies as reliable science under Daubert.

Reduced to its basics, Lashner’s opinion on authorship is grounded in her perception
that Landy is presented more positively than is Carl Wilson. Therefore, she reasons, Landy
must have been responsible for this disparity in the depiction of the two characters. This is
an enormous and palpable non-sequitur. The fact that one person in an autobiography is
depicted more favorably than another hardly warrants a conclusion that the advantaged person
actually participated in the writing of the book.’ Lashner’s attempt to divine authorship from
portrayal of the characters in an autobiography has more in common with the efforts of
ecclesiastical authorities to identify the hand of the heretic in a religious tract than it does
with any scientific methodology.

Lashner’s opinion on HarperCollins’ state of mind regarding authorship is, of course,

premised on her conclusion that Landy indeed wrote the book.® Clearly, she does not present

5 Lashner does not purport to use any of Landy’s prior writings to compare metaphor,
phrasings, or idiosyncratic language with the text of "Wouldn’t It Be Nice" so as to draw a
conclusion that the same author wrote both. She merely infers that Landy must have authored
the book because Brian Wilson presents him in a more favorable light than others.

6 The fact that HarperCollins will be entitled to rebut Lashner’s testimony on Landy’s
alleged participation misses the point. (See, Resp. at 7-8.) Of course, HarperCollins has the
right to rebut an expert opinion. The issue is the admissibility of Lashner’s mind-reading in
the first place.
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any validation for her opinion that HarperCollins knew that Landy had allegedly written parts
of the book, except for the ipse dixit from Dr. Kittross that “in many instances” the expert
may be able to divine “the intents” of a known author. (See, Kittross Decl., 3.) Neither
Lashner nor Kittross can point to a single scientific study where a statistically relevant number
of experts, applying content analysis to the same data in a controlled study, replicated each

other’s conclusions regarding intent. In both Tilton and World Boxing, the courts excluded

her testimony on the grounds that she was not competent to opine on the knowledge and
mental state of publishers on the issue of knowledge of falsity. Her expertise likewise does
not encompass an ability to opine on HarperCollins’ knowledge of the identity of the book’s
authors. World Boxing, 715 F. Supp. at 1265.

A linchpin for Lashner’s conclusion that Landy wrote portions of the book is her
subsidiary opinion that Brian Wilson was psychologically incapable of recounting the events
depicted there. Plaintiffs fail to challenge defendant’s contention that Lashner is not qualified
to opine on Brian Wilson’s mental state or on the effect of his mental state on his ability to
recall some or all of the events recounted in the book. If as plaintiffs state, Lashner "is
approaching the text as the average reader would," (Resp. at 8), then any inferences to be
drawn are available to the jury from the text itself and her opinion is unnecessary and
invasive of the jury’s function. If Brian Wilson’s alleged memory loss or mental state has
relevance to his ability to remember the "details of the book," the scope, duration, and extent
of any disability must be proven by a qualified expert, not by a practitioner of "content

analysis." Plaintiffs’ attempt to use Lashner to fill in the evidentiary gaps in their proof by
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seeking opinions far beyond her competence is dramatically illustrated by their gambit to use
her as both a psychologist and a rhetorician.

II. Lashner’s Testimony Is Of No Assistance To The Jury And Is Invasive of Their Role
In Determining Defamatory Meaning

Plaintiffs have been unable to make any cogent argument why this Court should not
follow the holdings of the other courts and exclude Lashner’s testimony as unhelpful and
unnecessary. The language used in the book is not idiosyncratic, coded, or technical. Lashner
admits that she is attempting to identify the range of "explicit and implicit meanings"

concerning the plaintiffs but then acknowledges that these meanings "would have been

understood by the average reader." (Lashner Report at 8); see also Lashner Coding Manual at

2 ("The pilot study and the research as a whole are undertaken to identify meaning such as
would have been understood by the average reader with regard to portrayal of the plaintiffs in
the instant case: Audree Wilson and Carl Wilson.”).) (Emphasis added.) Just so. If indeed
these meanings would be so understood by the average reader, Lashner can add little or
nothing and can only confuse the jury both by her impenetrable jargon and by the differences
between her own interpretations of meanings, implicit or explicit, and those of the jury. Since
the criteria for determining whether a statement is defamatory are based on the community
understanding of meaning, the court and the jury are peculiarly well-suited to make that
determination. The jury does not need Lashner to act as a platonic guardian instructing it on

meanings claimed to exist but which are not apparent to the reader’s eye.
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IV. Lashner’s Opinion Is Clearly Invasive Of The Court’s Exclusive Role In Determinin
Whether Particular Units Of Information Are Nonactionable Or Constitutionally
Protected

To comprehend fully the extent of Lashner’s proposed invasion of the Court’s
exclusive function in determining whether a particular assertion is actionable or protected
under the First Amendment, one need only review plaintiffs’ argument asserting that Lashner
"relied on” her interpretation of “the New Mexico Uniform Jury Instructions, and relevant
criminal and civil statutes and the cases interpreting them." (Resp. at 4-5.) Thus, Lashner,
who in her original report arrogated to herself the professorial role of telling the jury how to
read as well psychological expertise concerning Brian Wilson’s mental state, now purports to
determine the quintessential legal and constitutional issues which are solely the province of
the court. Thus, her opinion relies, in substantial part, on her own assessment that the
multiple “assertions” in the “designated passages” are actionable and not constitutionally or
otherwise protected.’

The problem is that Lashner relies on a myriad of what she perceives to be "negative"
assertions, which are not necessarily defamatory, for her conclusion rather than on judicially
sanctioned determinations as to what is actionable and what is not. Indeed, Lashner relies at

times on "inferences and innuendos" which she claims to be "negative," a practice that suffers

from serious, if not fatal constitutional infirmities. See Andrews v. Stallings, 119 N.M. 478,

484-85, 892 P.2d 611, 617-18 (Ct. App. 1995) (alleged implication based on true factual

7 "A single passage may harbor multiple items of information and thereby generate multiple
assertions. Assertions may represent statements, inferences or innuendoes." (Lashner Coding

Manual at 12 (emphasis added).)
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statements cannot constitutionally support a defamation action); (Lashner Report at 11).
Rather than saving her opinion from exclusion, her reliance on her own reading of New
Mexico jurisprudence dramatically demonstrates the extent to which she seeks to substitute
herself for the Court as well as the high probability that she has relied on nondefamatory
portrayals or constitutionally protected statements in forming her opinion.

V. Plaintiffs Have Failed To Meet Their Burden Under Daubert.

Plaintiffs have simply failed to make a showing by affidavit or otherwise that content

analysis meets Daubert criteria. Contrary to the implication on page 10 of the Response,

Daubert does not apply only to untested or unique methodologies. Although content analysis
is untested and controversial (as well as routinely excluded as a recognized expertise), Daubert
applies to scientific techniques or methodologies, whether of recent or ancient vintage.* Thus
Daubert has been applied to challenge the validity of questioned document examination and
hair analysis, which were routinely accepted by the federal courts prior to Daubert.

Williamson v. Reynolds, 904 F. Supp 1529 (E.D. Okla. 1995); United States v. Starzecpyzel

880 F. Supp. 1027 (S.D.N.Y. 1995). The key is whether the methodology is reliable,
produces replicable results, can be verified by others using the same data and methodology,
and has an acceptable error rate. See Daubert, 113 S. Ct. at 2796-97.

Here, Lashner offers no data whatsoever to address the factors which the Daubert court

deemed pivotal in determining whether a technique was based on scientific principles. Her

8 In Daubert the Supreme Court commented as follows: “Although the Frye decision itself
focused exclusively on ’novel’ scientific techniques, we do not read the requirements of Rule
702 to apply specially or exclusively to unconventional evidence.” 113 S. Ct. at 2796 n.11.

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and Dr. Kittross’ affidavits are deafeningly silent on whether even a single control study has
ever been conducted in which the methodology was applied to the same materials, whether a
conclusion of one content analyst has ever been replicated by another using the same
methodology, and whether the "discipline" has established an acceptable rate of error, and if
so, what it is. Plaintiffs have the burden of establishing the scientific reliability of their
methodology and have failed to make even a preliminary showing that content analysis meets
the criteria set forth in Daubert. See 113 S. Ct. at 2797 & n.10. infra. Since content
analysis fails to meet any of the criteria for reliable science, yet aspires to scientific status, the

Court need not engage in a Daubert hearing but can exclude her testimony on the basis of the

insufficiency of the affidavits presented here.
Respectfully submitted,

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We hereby certify that a copy

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